Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 1 of 49

ES ee ee i ap a i

1st Choice Construction, Inc.

1° Drywall, LLC

3180 Lamb Court Acquisition LLC and Linel Consulting

5177 Builders, Ltd.

84 Lumber Company

A.A. Stucco & Drywall, Inc.

A.R.B.C. Corporation |

Aarco, L.L.C.

ABC Drywall Corporation

ABF Drywall, Inc.

Aburton Homes, Inc.

AC1 Supply, Inc

Acadian Builders & Contractors, L.L.C.

ACE Home Center, Inc.

Active Drywall South, Inc.

Adams Homes of Northwest Florida, Inc. , Adams
Homes LLC and Adams Homes Realty, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 2 of 49

Advantage Builders of America, Inc. and Advantage
Builders of SW Florida, Inc.

Affordable Homes & Land, L.L.C.

AHS Construction Group, Inc. and AH Salce

Al Brothers, Inc. a/k/a $3 Enterprises, Inc. a/k/a Al
Brother Metal Framing & Drywall

Albanese-Popkin The Oaks Development Group, L.P.
and Albanese Popkin Development Group, LLC

All Florida Drywall Supplies, Inc.

Allied Building Products Corp d/b/a Southern Atlantic
Supply Division Corp and Old Castle, Inc.

Allsteel & Gypsum Products, Inc.

Alpha Homes, Inc. f/k/a Suarez Housing Corp.

Alvarez Homes, Inc.

Alvian Homes, Inc. d/b/a Stones & More, Alvian
Custom Homes, LLC and Alvian Incorporated —

Alvin G. Royes, Jr., L.L.C.

Alvin R. Savoie & Associates, Inc., Savoie Construction,
Inc., Savoie Real Estate Holdings, LLC, Savoie Realty,
LLC and Savoie Construction & Development, LLC _

American Building Materials, Inc.

American Dream Builders, Inc.

American Gallery Development, LLC and American
Gallery Development Group, LLC

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 3 of 49

American Housing Corporation

America's First Home of Southwest Florida, L.L.P.,
incorrectly named as America's First Home, Inc.

Amerisouth, Inc.

AnaDon Construction, LLC

Angel Developments, LLC

Anthony F. Marino General Contractor, LLC

Anthony Stirp d/b/a Excel Construction of SW Florida,

Anthony's Drywall, Inc.

Aranda Homes, Inc.

ARM Structural, Inc. and Schenley Park Homes, LLC

Arthur Homes, L.L.C.

Ashton Houston Residential L.L.C .

Ashton Tampa Residential, LLC

Associated Builders and Developers, Inc.

ATCO Interior Corp.

Aubuchon Homes, Inc.

Aurora Commercial Construction, Inc.

Avalon Building Corporation of Tampa Bay a/k/a
Avalon Building Corporation of Tampa Bay, Inc.

Avatar Properties Inc.

Azimuth E & E, Inc.

B E Construction Corp.

B J & K Condo Construction, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 4 of 49

B&B Disposal Services, LLC d/b/a Builder's Choice

Bagley Construction, LLC

Banner Homes of Florida, Inc.

Barloy Contractors, Inc.

Bass Homes, Inc.

Bauhaus Solutions, Inc., Bauhaus Solutions and

Bayou Building Products, LLC

Bayshore Construction Company, Inc.

Baystate Drywall, Inc.

Baywood Construction, Inc.

BBL-Florida, LLC

Beazer Homes Corp.

Bella Builders, Inc.

Ben & Joy Money and BMD, Inc.

Bender Construction and Development, Inc.

Benoit Builders, LLC

Best Drywall Services, Inc.

Beta Credit Management, LLC

Beta Drywall, LLC and Beta Construction, LLC

BFS Townhomes, L.L.C.

Big Bear Construction Co., Inc.

Big River Construction & Remodeling Co., Inc.

Bill Gregory Drywall

Black Bear Gypsum Supply, Inc. and Black Bear

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 5 of 49

Blanchard Homes Inc.

BMI Construction, L.L.C.

Boardwalk Drywall, Inc.

Boohaker & Associates, LLC

Boulanger Drywall Corp.

Bovis Lend Lease, Inc. n/k/a Lend Lease

Boyle Lumber Company

Boynton Village, LLC, Hollywood Dixie Associates, LLC,
Cornerstone Group Construction, Inc., BoyntonVillage
Associates, Ltd., Cornerstone Group Development
Corp., Cornerstone Group Development, LLC, San

Bradford Lumber & Supply, Inc.

Bradford Plastering, Inc.

Brandi Rogers d/b/a Gulf South Drywall

Breakwater Custom Homes, Inc.

Brent Garrod Drywall, Inc.

Brooks & Freund, LLC

~|Brownstone Builders Inc.

Builders Gypsum Supply LLP and
Builders Gypsum Supply Co., Inc

Building Materials Wholesale

Burmaster Construction, Inc.

Burmon Properties, LLC

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 6 of 49

By-George, Inc.

C & C Homebuilders Construction, Inc., C&C Home
Builders, Inc. and Christopher T. Cadis

C & D Plastering & Stucco, Inc.

C. Adams Construction & Design, LLC

C.A. Steelman, Inc.

Caliber Properties, LLC

Calmar Construction Company, Inc.

Capitol Materials, Inc.

Capricorn Ill Construction

Capstone Builders, LLC

Caribe Central LLC and Caribe East, LLC

Caribe East LLC

Carl B. Hamilton, Inc.

Carl Gonzales

Carruth Brothers Lumber Company, Inc.

Carter’s Custom Homes, Inc.

CastleRock Communities LP

CDC Builders, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 7 of 49

Centerline Homes, Inc., Centerline Homes
Construction, Inc., Briella Townhomes, LLC, Centerline
Homes at B and A, LLC n/k/a Completed Communities
ll, LLC, Centerline Homes at Tradition, LLC n/k/a
Completed Communities II, LLC, Centerline Homes at
Delray, Inc., Centerline Port St. Lucie, Ltd. n/k/a

Central Florida Finishers, Inc.

Chabot Enterprises, Inc.

Cherry Bark Builders

Christopher Duet d//b/a Woodtech

Ciara Homes LLC (incorrectly named as Cierra Homes,

Citrus Park Development Group, LLC

City Salvage, Inc.

CL Architects and Contractors, Corp.

Clayton’s Drywall, Inc.

Cloutier Brothers, Inc.

Coastal Living Homes, LLC

Cockerham Construction, LLC

Continental Drywall Contractors, Inc.

Coral Plastering & Wall Systems, Inc.

CORE Construction Services, Southeast, Inc. d/b/a Core

Cothern Construction Company and Volney Cothern .

Cox Lumber Company, formerly d/b/a HD Supply
Lumber and Building Materials

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 8 of 49

Craftmaster, LLC

Craig Homes, Inc.

Cypress Builders, Inc.

D & A Construction Services Inc.

D & W Drywall, Inc.

D.C. Builders LLC

D.R. Horton, Inc. and D.R. Horton, Inc. — Gulf Coast

D’Alessio Drywall & Painting Company

Daelen of Tangipahoa, L.L.C.

Dalbert Porée and Dalbert Porée General Repairs &

Daly Construction, Inc.

|/Danal Homes Development, Inc.

Darwin Sharp Construction LLC

Dave Walker Construction Inc.

|David E. Diggs, LLC and David Diggs

Davis Construction Supply, LLC

Deangelis Diamond Construction, Inc. and Deangelis

Deco Paver Bricks, Inc.

Deer Creek Estates II, LLC

Deerfield Court Townhomes, LLC a/k/a Lavish Holding

DeLaCruz Drywall Plastering & Stucco, Inc.

Deloach Corporation, Inc.

Derouen Homes, LLC

Design Drywall of South Florida, LLC and Design

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 9 of 49

Devon International Industries, Inc. f/k/a Devon
International Trading, Inc., Devon International Group,
Inc., Devon International, Inc., Devon Health Services,

Devonshire Properties, Inc. and Devonshire Builders,

Diamond Court Construction Company

Distinctive Drywall Designs, Inc.

Distinctive Finishes, Inc.

Diversified General Contractors, Inc.

DMH Development Co.

Dobson Construction, Inc.

Douglas B. Francis and Douglas B. Francis, Inc.

Drywall Experts, Inc.

Dunn Wright Construction, Inc.

Duo Fast Construction, Inc.

duPont Builders, Inc. and duPont Construction and

Dupree Construction Company, Inc., Dupree
Construction, LLC, Dupree Construction Company, LLC,
Dupree Construction, Inc., Dupree Contractors, Inc.

E. Jacob Construction, Inc. and.E. Jacob Fakouri

E.L. Cretin, LLC, Cretin Homes, LLC and Cretin Homes, -

Eastern Construction Group, Inc.

Eastmond Enterprises, Inc. and Eastmond Homes, LLC

Ed Price Building Materials Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 10 of 49

Eddleman Homes, LLC, Highland Lakes Homes, LLC,
Courtside Development, Inc., Eddleman Properties,

Edwards Construction

EH/Transeastern LLC d/b/a Transeastern Homes

Empire Construction, L.L.C.

Empire Properties, LLC and Empire Products, LLC

Everglades Lumber & Building Supplies, LLC

F & L Developers, Inc.

F. Vicino Drywall, Inc., F. Vicino Drywall Il, Inc. and F. —

Faith Built Homes, LLC

Farthing MTR Enterprises, Inc. d/b/a Star Drywall, Inc.

Federal Construction Specialists, Inc.

Fekel Stucco & Plastering, Inc.

Finest Drywall, Inc.

First Choice Homes of SW Florida, Inc.

First Home Builders of Florida, LLC

Florida Home Partnership, Inc.

Florida Style Services, Inc.

Font Builders, Inc.

Forester Homes, Inc. and Forester Construction Corp.

Four Star Innovations, LLC

Frost Metal Framing & Drywall, Inc.

G Drywall Corp. and G. Drywalls Corporation

G. Patrick Bourgeois & Associates, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 11 of 49

G. Proulx, LLC and G. Proulx, Inc.

G.L. Building Corporation, G.L.Homes of Florida
Corporation, G.L. Homes Limited Corporation, G.L.
Homes of Boynton Beach Associates IX, Ltd. Boyton —
Beach Associates XVI, LLLP, Boynton Beach XVI
Corporation, Miramar Associates IV, LLLP, Miramar IV
Corporation, G.L. Homes of Davie Associates Il, Ltd.,

Gant & Shivers Homes, LLC

Gateway Building and Design Corp.

Gator Gypsum, Inc.

George Fraker General Contractor, Inc.

GH Vero Beach Development, LLC

Gibson & Anderson Construction, Inc.

GLM Remodeling Building Contractors, Inc.

Global Home Builders, Inc.

GMI Construction, Inc.

Gold Coast Homes of SW Florida, Inc.

Gomez’s Interiors Corp.

Grand Harbour Homes, Inc.

Grays Bay Builders, Inc.

Great Southern Builders, LLC

Great Southern Homes, Inc.

Great Western Building Materials

Gregan Construction Corp. and Gregan Construction,

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 12 of 49

Gregg Nieberg, Inc.

Gremillion Homes, Inc.

Groff Construction, Inc.

Groza Builders, Inc.

Gryphon Construction, LLC

GSF Enterprises, Inc. d/b/a Foster Painting

Guarantee Service Team of Professionals, Inc. and

Gulf Coast Drywall, L.L.C. and Correct Custom Drywall,

Gulf Coast Engineering, LLC a/k/a Gulfcoast

Gulf Coast Shelter, Inc. and Shelter Products Inc.

Gulfside Supply, Inc. d/b/a Gulfeagle Supply

Gulfstream Homes, Inc.

H. C. Owen Builder, Inc.

Hal Collums Construction, LLC and HPC Holdings, LLC

Hallmark International Lands & Investments, Inc.

Hammer Commercial Services, LLC and Hammer

Hammer Construction Services, Ltd.

Hanover Homes, Inc.

Hansen Homes of South Florida, Inc.

Harbor Springs Construction and Development, LLC

Harold "Frank" Causey

Hartsville Lumber & Barns, Inc.

Hearthstone, Inc. as Receiver for Rottlund Homes of

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 13 of 49

Heights Properties, LLC, Heights Custom Homes, Inc.,
Heights Properties, Inc., Heights Custom Homes, LLC,
Heights Title Services, LLC and Heights Realty and

Hendrickson Construction, LLC

Heritage Builders of West Palm Beach, Inc.

Heritage Homes of Northwest Florida, LLC and
Heritage Homes of NW FL, LLC:

Hilliard Butler Construction, Inc.

Hinkle Drywall, LLC and Hinkle Drywall, Inc.

Holiday Builders Construction of Florida, LLC

Holiday Builders, Inc.

Home Depot U.S.A., Inc.

Home One Homes, Inc.

Home Tech, LLC

HomeTown Lumber & Supply, Inc.

Hovnanian Developments of Florida, Inc.

Hovnanian Enterprises, Inc.

Hovstone Properties Florida, LLC

Hoyt's Construction Co., Inc.

Image Drywall, Inc.

Independent Builders Supply Assoc., Inc. and Bert

Independent Drywall Distributors, LLC f/k/a China

In-Line Contractors, L.L.C. and In-Line Design, L.L.C.

lronwood Properties, Inc. and Antilles Vero Beach LLC

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 14 of 49

J & A Stucco Drywall, Inc. and J&A Brothers Drywall &

J&J Builders Northshore, Inc.

J. Cherry & Sons, Inc.

J. Helm Construction, Inc.

J.D. Tillman Construction Co.

J.M.G. Drywall, Inc.

J.P. Real Estate Development, Corp.

J.S.D. Builders, Inc.

J.W. Allen & Co., Inc.

J.W. Hodges Drywall, Inc.

Jack's Drywall, LLC

Jack's, Inc.

James Drywall, LLC

James G. Hoskins, Inc. d/b/a Chippendale Contractors

JB Plaster, Inc.

JDC of Florida, Inc.

JDL Drywall, Inc.

JDM Builders, Inc.

JEBCO, Inc. and Chapel Hills, Inc.

Jim Morris & Sons, Inc.

Jim Walter Homes, Inc. & Jim Walter Holmes, LLC

Jimmy Stokley d/b/a Choctaw Builders, Inc.

JK Construction, LLC

John A. Carter d/b/a Patriot Homes, LLC

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 15 of 49

John Carew, Sr. d/b/a Carew Construction, Inc. and

John Gillespie

John Korn Builders

John L. Crosby, LLC

Joseph Grimsly, LLC

JSK Construction, Inc.

Judson Construction Group, LLC

JWR Construction Services, Inc.

K. Hovnanian Developments of New Jersey, Inc.

K. Hovnanian Developments of Texas, Inc.

K. Hovnanian First Homes, LLC

K. Hovnanian Homes of Houston, LLC /k/a K.
Hovnanian of Houston, LP d/b/a Parkside Homes

K. Hovnanian of Houston II, LLC f/k/a K. Hovnanian of
Houston II, LP d/b/a Brighton Homes

K. Hovnanian of Palm Beach XIII, Inc.

K. Hovnanian Windward Homes, LLC

Karr Drywall, Inc.

Kaye Homes, Inc. and Custom Homes by Kaye, Inc.

KB HOME Tampa, LLC, KB HOME Florida, LLC, KB HOME
Treasure Coast, LLC, KB HOME Jacksonville, LLC, KB
HOME Orlando, LLC, KB HOME Fort Myers, LLC and KB

KCG, Inc., REW Materials, Inc., REW Materials Orlando,
LLC and KC Gypsum, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 16 of 49

Kelley Drywall, Inc.

Kelley's Quality Drywall, Inc.

Kemah Construction, Inc.

King Cash and Carry Building Supplies, LLC

Klepk Bros. Drywall, Inc.

KT Drywall, Inc.

L & J Builders, Inc.

L.A. Homes, Inc.

L.R. Gardere Drywall Construction, Inc.

Lake Ashton Development Group II, LLC, A&M Business
Properties, Inc. f/k/a A&M Properties, Inc., CRF
Management Co., Inc. and Century Homes-Carlsberg,

Lakehill Ventures, Inc.

Lancer Enterprises, Inc.

Land Services of FL, LLC and Butler Properties, LLC

LaPorte Builders, Inc.

Law Developers, LLC

Lebaron Brothers Drywall, LLC

Lee Roy Jenkins, Inc. and Lee Roy Jenkins

Lee Wetherington Development, Inc.

Legend Custom Builders & Best Homes of SW FL, Inc.

Lennar Corporation, Lennar Homes, LLC f/k/a Lennar
Homes, Inc., and U.S. Home Corporation

Levet Homes, L.L.C.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 17 of 49

Likness Construction of SW FL.

Littles Construction of Central Florida, Inc.

L'Oasis Builders Incorporated

Louran Builders, Vincent Montalto Const., Inc., and —
Vincent Montalto Construction Inc. -

LPR Builders, Inc.

LTL Construction, Inc.

Lucas Construction Corporation

Lucchetti Drywall, Anthony Lucchetti and AML Drywall

Lucky Strike M.K., Inc.

Luke & Sons Construction, Inc.

Lumar Builders, Inc.

M. Carbine Restorations, Ltd.

M. Slayton Construction, Inc.

M.K. Developers, Inc.

M/l Homes (including all subsidiaries and affiliates)

MACC Construction, Inc.

Management Services of Lee County, Inc. (f/k/a Paul

Manclar Builders, Inc.

Mandalay Homes, Inc.

Mandy Drywall, Inc. a/k/a Mandy's Drywall & Stucco

Manuel Development Corporation

Marantha Construction Corp.

Maronda Homes, Inc. of Florida

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 18 of 49

Marsiglia Construction Co., Inc.

Marty's Drywall Services, Inc.

Marvin's, Inc.

Mastercraft Properties, LLC

Matmo Construction, L.L.C.

Mavied Corp.

Mayeaux Construction, Inc.

Mazer's Discount Home Centers, Inc.

MC Contractors, Inc.

McCar Homes, Inc., McCar Homes - Tampa, LLC and
MicCar Homes, Inc. - Jacksonville

McCluskey Custom Homes, Inc.

McCombs Services, LLC

McDowell Builders, LLC

McMath Construction, Inc., McMath Construction, LLC

MDW Drywall, Inc. a/k/a McCoy Drywall, Inc.

Meadows of Estero-Bonita Springs Limited Partnership

Medallion Homes Gulf Coast, Inc., Cargor Partners III -
Parrish LC and Cargor Partners IV - Bobcat LC

Melvin Prange, Jr. Construction, LLC

Mercado Enterprises, Inc.

Mercedes Homes, Inc.

Meridian Homes USA, Inc.

Meritage Homes of Florida, Inc. and Meritage Homes

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 19 of 49

MGB Construction, Inc.

Mid-State Drywall, Inc. d/b/a Michael Mosley Drywall

. |Mike Glass

Millennium Homes & Development, Inc.

MJF Construction Corp. and MJF Construction, Inc.

Mobley Homes Florida, LLC and M. Tampa Corp.

Modern Construction Group, Inc.

Moore Unique Interiors, Inc.

Morgan Homes, Inc. _ -

MSC of NWF, Inc. and Michael Stanley Construction,

Nautical Homes, LLC n/k/a Statewide Structural, LLC.

New Millennium Builders, Inc. and New Millenium at

New Orleans Area Habitat for Humanity, Inc.

Newcastle Construction, Inc.

Nice Homes, Inc.

North Pacific Group, Inc. in Receivership

Northstar Holdings, Inc., Northstar Homes, Inc.,
Northstar Holdings at B&A, LLC

Northstar Homebuilders, LLC

Northstar Homes, LLC

Nu Way Drywall, LLC

Oak Tree Homes, Inc. and Thompson Wood Products,

Ltd., Stonebrook Estates, Inc. and Viking V., Inc

Oakbrook Building and Design, Inc., Stonebrook Estates)

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 20 of 49

Ocean Coast Drywall of South Florida, Inc. and O.C.D.

Ocean Construction, Inc.

O'Key Homes, Inc. d/b/a Dennis O'Key Affordable

Osprey Gulfshore Building Materials, Inc.

Other Brothers Drywall, Inc.

Oxnard Building Materials d/b/a Great Western

Oyster Bay Homes, Inc.

P.D.C. Drywall Contractors, Inc.

Palm Coast Construction, LLC

Patrick Drywall, Inc.

Pat's Construction, LLC

Penn Construction Co., L.L.C. and Penn Construction.

Pensacola Stevedore Company, Inc. and Pate

Pezzano Contracting & Development LLC f/k/a
Cornerstone Construction of SW FL Inc.

|Phillip W. Giles Drywall, LLC

PHL Construction L.L.C. d/b/a Summit Homes, LLC

Picayune Discount Building Supply

Platinum Property Management, Inc.

Portofino Homes, Inc.

Precision Drywall, Inc.

Premier Communities, Inc.

Premier Design Homes, Inc. and Sedgwick Developers,

Prestige Development, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 21 of 49

Pride Homes of Lakes by the Bay Parcel H, LLC and
Pride Homes of Lakes by the Bay Parcel J, LLC

Princeton Homes, Inc.

ProBuild Holdings LLC, a Delaware limited liability —
company, sole owner of ProBuild Company LLC, a
Delaware limited liability company, as successor by
merger to ProBuild East LLC, The Contractor Yard LLC,

Probuilders and Restoration of Louisiana, LLC

Professional Drywall Construction, Inc.

Protocol Construction, L.L.C. and G & H Restorations,

Pukka Development, Inc.

—|Quality Builders of North Florida, Inc.

R & H Masonry Contractors, Inc.

R. Fry Builders, Inc.

R.A. Tabora Enterprises, Inc.

Radd Builders, Inc.

RAH of Texas, LP

Ramos Builders, Inc.

Ray Adams d/b/a Rightway Drywall, Inc. & Rightway

Ray Beck, Inc.

Ray Horvath Drywall, Inc.

RCH Drywall Service, Inc.
RCL Development, Inc.
Reed Builders, LLC

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 22 of 49

Regatta Construction, LLC

Regency Homes, Inc., Regency Homes Group LLC,
Regency Constructors LLC, Regency Constructors Inc.,
Regency at Plantation Acres, LLC, Regency at
Stonebrook Estates LLC, Regency Custom Homes of —
Weston LLC, Stonebrook Homes LLC, Stonebrook
Partners LLC, Stonebrook Homes J.V., San Melina
Holdings LLC, Balmoral at Delray Lakes Estates LLC,
Tuscany at Davie LLC, Black Hawk Reserve J.V.,

Residential Drywall, Inc.

Reve Development Corporation

RFC Homes, Inc.

Richard Hoover

Richard Jones Construction Company, Inc. and

Richmond Heights Community Development Corp.

Rick Strawbridge, Inc.

Rightway Drywall, Inc.

Rinker Materials of Florida, Inc. n/k/a CEMEX
Construction Materials Florida, LLC

Rivera & Company of SW Florida, Inc.

Rivercrest, LLC, St. Joe Towns & Resorts, LP, The St. Joe

Company f/k/a St. Joe Corporation f/k/a St. Joe Paper
RiverStreet Homes, Inc.

RJL Drywall, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 23 of 49

RJM Builders North, Inc., RJM Builders Inc. and RJM

RL Drywall

Robert Lynch Builders, L.L.C.

Robert/Charles Builders, Inc.

Robertson Construction Corporation a/k/a Robertson

Roche Jr. Construction Inc.

-|Rockwell Builders, L.L.C.

Rogers Co., LLC

Royal Homes, L.L.C. and Marigold Court, LLC

Russ Mills d/b/a Mills Construction

S & D Specialties, Inc.

S&O Investments

S. Petersen Homes Inc.

S.D. & Associates, Inc.

S3 Enterprises, Inc.

SAM Drywall, Inc.

Saturno Construction AB, Inc.

Saucedo Construction, Inc.

Schear Corporation

Schmidt Brothers Homes, Inc.

Shamrock Building Materials, Inc.

Shelby Building Corp.

Shirley Construction and Drywall, Inc. _

Shoma Homes at Keys Cove Phase Il, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 24 of 49

Shoma Homes Splendido, Inc.

Sidney Sutton Drywall, Inc.

Siesta Bay Custom Homes, LLC

Sixty Fifth and One LLC

Sleuth, Inc.

Smith Family Homes Corporation and Smith Family

Smoky Mountain Materials, Inc. d/b/a Emerald Coast

Sodrel Construction, Inc.

Sorrento Lumber Company, Inc.

South Florida Custom Trim, Inc.

South Kendall Construction, Inc. a/k/a South Kendall

Southbay Development Corp.

Southern Bay Homes, Inc.

Southern Heritage Builders, Inc.

Southern Homes of Broward XI, Inc.

/Southern Homes, LLC, Tallow Creek, LLC, Springhill, LLC

Southern Star Construction Co., Inc., Chinchuba Creek
Garden Homes, LLC, and Laporte Family Properties, LLC

Southwell Homes, LLC

Southwest Innovations, Inc.

Speedy Drywall Service, LLC

Spring Park Builders, LLC

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 25 of 49

Standard Pacific Corp., Standard Pacific of South
Florida GP, Inc., Standard Pacific Homes of South
Florida GP, Inc., Standard Pacific of Tampa GP, Inc.,
Standard Pacific of Colorado, Inc., HWB Construction,
Inc., Westbrooke Homes, Westfield Homes of Florida,

Star Homes of Florida LLC

Star Services, Inc.

Steeler, Inc.

Sterling Communities at Talavera, LLC

Sterling Communities, Inc. and Sterling Communities

Steven R. Carter, Inc.

Steven Sweet Drywall, LLC

Stock Building Supply, LLC, Stock Building Supply of
Florida, LLC, Stock Building Supply, Inc., Stock Building
Supply Holdings, LLC and Stock Building Supply West,

Stocker Drywall, Inc.

Stonebrook Estates, Inc.

Stuart South Group, LC d/b/a Treasure Coast Homes

Sumaj Builders Corp.

Summit Contractors, Inc. and Summit Homes of LA, Inc.

Sun Construction, L.L.C. d/b/a Sunrise Homes, Sunrise
Construction, Sun Construction, LLC and Sunrise

Suncoast Building Materials, Inc.

Sunset Drywall, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 26 of 49

Suntree Homes, Inc.

Swedberg Enterprises, Inc. d/b/a Florida Drywall

Sweet Interiors, Inc.

T & T Green Construction, Inc.

Taber Construction, LLC

Taylor Construction Services, Inc.

Taylor Morrison of Florida, Inc., Taylor Morrison
Services, Inc., Taylor Morrison, Inc., Taylor Woodrow,
Inc., Taylor Woodrow Communities at Vasari, L.L.C, and

Teamwork Construction, LLC

Teo's Drywall, Inc.

Terry Mott Builder

The David Group Inc.

The Haskell Company

The Henning Group, LC

The Jade Organization, Inc., Jade Organization, Inc. and
Jade Organization General Contractor, LLC

The Mitchell Company, Inc. and The Mitchell Company,
The Ryland Group, Inc. -

The Sterling Collection, Inc.

Thomas F. Gray Construction, Inc.

Thomas R. Gould, Inc. and Thomas Gould, Inc.

Three County Construction Co., Inc.

Tim Barnett d/b/a Barnett Drywall

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 27 of 49

Timberline Builders, Inc.

Titan Drywall, Inc.

TMO Global Logistics, L.L.C.

Toll Estero Limited Partnership

Tommy Ganey

Total Community Action, Inc.

Total Drywall

Toula Properties LLC, Total Maintenance Services of
the South, Inc. and Professional Construction and

TOUSA, Inc., TOUSA Homes Florida, L.P., successor by
merger to EH/Transeastern, LLC, d/b/a Transeastern
Homes and TOUSA Homes, Inc. (*The participation of
TOUSA Homes Florida, L.P., successor by merger to .
EH/Transeastern, LLC, d/b/a Transeastern Homes;
TOUSA, Inc.; and TOUSA Homes, Inc. in the settlement
is contingent on obtaining the approval of the United

Tracey Construction, Inc.

Treasure Coast Communities, LC

Triple Crown Homes, Inc. and The 103 Investments, LLC
Triple E Corporation
Triple J Plus Enterprises, Inc.

Triple M Drywall, Inc.

Trivium Construction, Inc.

Trust America Homes, Inc. d/b/a First American Homes

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 28 of 49

Tudela's Classic Homes, L.L.C..

Turley Heating & Cooling, Inc. and J. Brian Turley

Turn Key Home Builders, Inc.

Turner Wall Systems

Tuscan Harvey Estate Homes, Inc..and Tuscan Harvey.

United Dream Builders, Inc.

United Drywall & Stucco, Inc.

United-Bilt Homes, L.L.C.

V&I Drywall & Stucco a/k/a V and | Drywall & Stucco,

Van Aller Construction, Inc.

Venetian Village, LLC

Vernon Construction Corp.

Vet Construction, Inc.

Vetter Lumber Company, Inc.

Vicinity Drywall, Inc.

Viking Homes of SW Florida, Inc.

Villa Development, Inc. d/b/a Villa Homes of SW

Villas at Oak Hammock, LLC

Vintage Homes, LLC

Vista Builders, Inc.

Vortex Wall Systems

W. McDaniel Construction, Inc. f/k/a Nicholas
McDaniel Construction a/k/a W. McDaniel

WCI Communities, Inc

Gase 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 29 of 49

Weekley Homes, LLC f/k/a Weekley Homes, L.P. and
David Weekley Homes, LLC

Wellington Shores -- Wellington Limited Partnership

West Coast Drywall Construction, Inc.

West Construction, Inc.

Wholesale Building Products, LLC

William L. Perry Plastering & Drywall, Inc.

Williams-Brown, Inc.

Woodland Enterprises, Inc.

Woodside Group

Wyman Stokes Builder, Inc.

Yarco, Inc.

Ybarzabal Contractors, LLC

Zahn Luxury Homes, Inc. and Zahn Builders Florida, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 30 of 49

Alfa Mutual Insurance Company

American Economy Insurance Company, American States Insurance Company,
American States Insurance Company of Texas, American Fire and Casualty
Company, Montgomery Insurance Company, General Insurance Company of
America, and First National Insurance Company of America

American Empire Surplus Lines Insurance Company

American Home Assurance Company

American Strategic Insurance Corporation, ACA Home, Home Pointe,
American Capital Assurance, Ark Royal Insurance Company, ASI Assurance
Corp., ASI Corp., ASI Lloyds, ASI Preferred and ASI Select
Amerisure Insurance Company and Amerisure Mutual Insurance Company
Arch Insurance Company

Argo Underwriting Agency, Ltd., the sole underwriting member or “Name” for
Syndicate 1200, improperly identified in the Amended Amato Complaint as
“Underwriters at Lloyd’s, London"

Atlantic Casualty Insurance Company

Audubon Indemnity Company

Bankers Insurance Group and Bankers Insurance Company

Builders Mutual Insurance Company

Canal Indemnity

Catlin Specialty Insurance Company and Wellington Specialty Insurance
Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 31 of 49

Certain Underwriters at Lloyd’s, London (each severally subscribed to the

insurance policy each for its own part and not one for the other, numbered
ART001135).

Chartis Specialty Insurance Company, f/k/a American International Specialty
Lines Insurance Company
Cincinnati Insurance Company

Clarendon America Insurance Company, Praetorian Specialty Insurance
Company, QBE Specialty Insurance Company, QBE Insurance Corporation,
Southern Guaranty Insurance Company and Praetorian Insurance Co., f/k/a
the Insurance Company of Hanover

Colony Insurance Company

Companion Property & Casualty Group

Continental Casualty Company

Continental Insurance Company

Continental Western Insurance Company

Employers Mutual Casualty Company

|Endurance American Specialty Insurance Company

FCCI Insurance Company, FCCI Commercial Insurance Company, National
Trust Insurance Company, Brierfield Insurance Company and FCCI Advantage
Insurance Company

Federal Insurance Company

Federated Mutual Insurance Company and Federated Service Insurance
Company

Federated National Insurance Company f/k/a American Vehicle Insurance
Company

Fireman's Fund Insurance Company and Interstate Fire and Casualty Company
Florida Insurance Guaranty Association

Gemini Insurance Company

General Fidelity Insurance Company

Granada Insurance Company

Granite State Insurance Company

Great American Insurance Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 32 of 49

Harleysville Mutual Insurance Company

Hartford Fire Insurance Company, Hartford Casualty Insurance Company,
Hartford Insurance Company of the Southwest, Hartford Underwriters
Insurance Company, Twin City Fire Insurance Company

Illinois National Insurance Company

Illinois Union Insurance Company

Indian Harbor Insurance Company

James River Insurance Company

Kingsway Amigo Insurance Company

Landmark American Insurance Company and RSUI Indemnity Company

Lexington Insurance Company

Liberty Mutual Insurance Company, Liberty Mutual Fire Insurance Company,
Liberty Surplus Insurance Corporation and LSI Corporation, Liberty Insurance
Underwriters, Inc.

Louisiana HomeBuilders Association General Liability Trust

Maxum Indemnity Company

Mid-Continent Casualty Company and Mid-Continent Insurance Company

Montpelier US Insurance Company

National Surety Corporation

National Union Fire Insurance Company of Pittsburgh, Pa.

Nationwide Mutual Insurance Company and Nationwide Mutual Fire
Insurance Company

Nautilus Insurance Company

New Hampshire Insurance Company

North American Specialty Insurance Company

North Pointe Casualty Insurance Company, North Pointe Insurance Company
and Queensway International Indemnity Company

Northbridge Indemnity Insurance Corporation, f/k/a Commonwealth
Insurance Company

Old Dominion Insurance Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 33 of 49

Omega Dedicated Ltd (UK), the sole underwriting member or “Name” for
Syndicate 958 (improperly identified in the Amended Amato Complaint as
“Underwriters at Lloyd’s, London”)

Owners Insurance Company, Southern Owners Insurance Company and Auto-
Owners Insurance Company

Penn-America Insurance Company

Pennsylvania Lumbermens Mutual Insurance Company

Quanta Indemnity Company and Quanta Specialty Lines Insurance Company

Republic Underwriters Insurance Company and Southern Insurance Company

Rockhill Insurance Company

Scottsdale Insurance Company

Sentry Insurance, A Mutual Company

State Farm Fire and Casualty Company and State Farm Florida Insurance
Company

The American Insurance Company

The Insurance Company of the State of Pennsylvania

The Ohio Casualty Insurance Company and West American Insurance
Company

The Underwriting Member of Lloyd's Syndicate 3500 in its capacity as
Reinsurer to Close of Lloyd's Syndicate 2112 c/o RiverStone Managing Agency
Limited of Park Gate, 161-163 Preston Road, Brighton BN1 6AU (“the
RiverStone Syndicate”).

Travelers Property Casualty Company of America f/k/a The Travelers
Indemnity Company of Illinois, The Travelers Indemnity Company of America,
St. Paul Surplus Lines Insurance Company, and The Charter Oak Fire Insurance
Company

Unigard Insurance Company

USF Insurance Company

Valley Forge Insurance Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 34 of 49

Wausau Underwriters Insurance Company, Wausau Business Insurance
Company, Employers Insurance Company of Wausau, and Employers
Insurance of Wausau

Wesco Insurance Company

Western Pacific Mutual Insurance Company

Western World Insurance Company

Westfield Insurance Company

Zurich American Insurance Company, American Zurich Insurance Company,
Maryland Casualty Company, Steadfast Insurance Company, Assurance
Company of America, American Guarantee and Liability Insurance Company

09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 35 of 49

Case 2

Participating Defendant Participating Defendant Reserving Claim

Involved

against Insurer

Participating Insurer Reserving Claim
against Another Insurer

A.R.B.C. Corporation

A.R.B.C. Corporation reserves all claims against Mid-
Continent Casualty Company, Oklahoma Surety
Company, and Mid-Continent Assurance Company

Adams Homes of Northwest

Adams Homes of Northwest Florida, inc.; Adams Homes,
LLC; and Adams Homes Realty, Inc. reserve all claims

Florida, Inc.; Adams Homes, LLC;/against Mt. Hawley Insurance Company, Lloyd’s,. -

Adams Homes Realty, Inc.

American Homes Assurance Company and Commerce
and Industry Insurance Company

All Florida Drywall Supplies, Inc.

All Florida Drywall Supplies, Inc. reserves all claims against
Scottsdale Insurance Company

FCCI insurance Company reserves all claims against
Scottsdale Insurance Company

Allied Building Products Corp

d/b/a Southern Atlantic Supply

Division Corp and Old Castle,
Inc.

Liberty Mutual Fire Insurance Company reserves
all claims against American Zurich Insurance
Company and American Guaranty & Liability
Insurance Company; and American Zurich
Insurance Company and American Guaranty &
Liability Insurance Company reserve all claims

against Liberty Mutual Fire insurance Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 36 of 49

Alvarez Homes, Inc.

Alvarez Homes, Inc. reserves all claims against Cincinnati
Insurance Company and Amerisure Insurance Company

State Farm Florida Insurance Company reserves
all claims against Cincinnati Insurance Company
and Amerisure Insurance Company

American Building Materials,
Inc.

American Building Materials, Inc. and its assignee KB
Home reserve all claims against Granite State Insurance

Company

Auto-Owners Insurance Company Owners
Insurance Insurance Company, and their assignee
KB Home reserve all claims against Granite State
Insurance Company

ATCO Interior Corp.

Granada Insurance Company reserves all claims
against Nova Casualty

Aubuchon Homes, Inc.

Aubuchon Homes, Inc. reserves all claims against Vinings
Insurance Company

Beazer Homes Corp.

Beazer Homes Corp. reserves all claims against Steadfast
Insurance Company, Zurich Northern America, Zurich
Insurance Company, XL Europe Insurance Company Ltd.,
Endurance American Specialty Insurance Company,
Endurance Specialty Insurance Ltd., American Guarantee
& Liability Insurance Company, SR International Business
Insurance Company Ltd., SR International Business
Insurance Company SE, Swiss Re International SE, and XL
Insurance Company Limited

Calmar Construction Company,
Inc.

Catlin Insurance Company reserves all claims
against First Financial Insurance Company and
American Empire insurance Company

Capitol Materials, Inc.

Capital Materials, Inc. reserves all claims against Zurich
American Insurance Company

Ciara Homes LLC

Ciara Homes LLC reserves all claims against Western
Pacific Insurance Company

City Salvage, Inc.

City Salvage, Inc. reserves all claims against Maryland
Casualty Company and Northern Insurance Company of
New York

Cockerham Construction, LLC

Catlin Insurance Company reserves all claims
against Quanta Indemnity Company and Naxos
Insurance Company

D.R. Horton, Inc. and D.R.
Horton, Inc. — Gulf Coast

D.R. Horton, Inc. and D.R. Horton, Inc.—Gulf Coast
reserve all claims against ACE, AlG, Chartis, CHUBB, XL,
Allied Word Assurance, Swiss RE, Lexington, SR
International, Aspen Insurance UK, Evanston Insurance,
AISL, Arch, Steadfast, XL Europe, Allied World , Scor,
lronshore Specialty, Underwriters at Lloyds of London
and Alterra Europe PLC.

Devon International Industries,
Inc. f/k/a Devon International
Trading, Inc., Devon
International Group, Inc., Devon
International, Inc. and Devon
Health Services, Inc.

Devon International Industries, Inc. f/k/a Devon
international Trading, Inc., Devon International Group,
inc., Devon international, Inc. and Devon Health
Services, Inc. reserve all claims against Cincinnati
insurance Company and Continental Casualty Company

Maryland Casualty Company reserves all claims
against Cincinnati Insurance Company and
Continental Casualty Company; Cincinnati
Insurance Company reserves all claims against
Maryland Casualty Company and Continental
Casualty Company

F. Vicino Drywall, Inc., F. Vicino
Drywall Il, Inc. and F. Vicino &
Company, Inc.

Hartford Fire Insurance Company reserves all
claims against National Insurance Group and
Florida Insurance Guaranty Association

Finest Drywall, Inc.

Finest Drywall, Inc. reserves all claims against National

Union Fire Insurance Company of Pittsburgh, Pa.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 37 of 49

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 38 of 49

First Home Builders of Florida,
LLC

First Home Builders of Florida, LLC reserves all claims
against Great American Insurance Company, The Ohio
Casualty Group, North American Capacity Insurance
Company, Chartis Specialty Insurance Company, f/k/a
American international Specialty Lines Insurance
Company, The North River Insurance Company, U.S. Fire
insurance Company, Crum & Forster Indemnity Company
and Westchester Surplus Lines Insurance Company

Ei

G. Proulx, LLC and G. Proulx, Inc.

G. Proulx, LLC and G. Proulx, Inc. reserve all claims
against Zurich American Insurance Company,
Continental Casualty Company, Chartis, Inc., Chartis
Claims, Inc., Granite State Insurance Company, New
Hampshire Insurance Company, National Union Fire
Insurance Company and Fireman's Fund Insurance
Companies

G.L. Building Corporation,
G.L.Homes of Florida Corporation,
G.L. Homes Limited Corporation,
G.L. Homes of Boynton Beach
Associates IX, Ltd. Boyton Beach
Associates XVI, LLLP, Boynton
Beach XVI Corporation, Miramar
Associates IV, LLLP, Miramar IV
Corporation, G.L. Homes of Davie
Associates Il, Ltd., G.L. Homes of
Davie Associates III, Ltd., G.L.
Homes of Davie Associates IV, Ltd.,
G.L. Homes of Davie IV Corporation

G.L. Building Corporation, G.L.Homes of Florida
Corporation, G.L. Homes Limited Corporation, G.L.
Homes of Boynton Beach Associates IX, Ltd. Boyton
Beach Associates XVI, LLLP, Boynton Beach XVI
Corporation, Miramar Associates IV, LLLP, Miramar IV
Corporation, G.L. Homes of Davie Associates Il, Ltd., G.L.
Homes of Davie Associates III, Ltd., G.L. Homes of Davie
Associates IV, Ltd., G.L. Homes of Davie IV Corporation
reserve all claims against Chartis Specialty Insurance
Company f/k/a American International Specialty Lines
Insurance Company, Lexington Insurance Company and
Steadfast Insurance Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 39 of 49

Gator Gypsum, Inc.

Gator Gypsum, Inc. reserves all claims against Zurich
American Insurance Company

GH Vero Beach Development, LLC

GH Vero Beach Development, LLC reserves all claims
against Admiral Insurance Company, American Empire
Surplus Lines Insurance Company, Crum and Forster
Insurance Company, RSUI Indemnity Company,
Landmark American Insurance Company, Lexington
Insurance Company, Lloyds of London

Grays Bay Builders, Inc.

Grays Bay Builders, Inc. reserves all claims against FCCI,
North American Specialty Insurance Company, Quanta
Specialty Lines Insurance Company and General Fidelity
Insurance Company

Hallmark International Lands &
Investments, inc.

Nationwide Mutual Insurance Company reserves all
claims against Bridgefield Casualty Insurance Company

Hanover Homes, Inc.

Mid-Continent Casualty Company reserves all claims
against Quanta Indemnity Company

HomeTown Lumber & Supply, Inc.

Federated Mutual Insurance Company and Federated
Service Insurance Company reserve all claims against
Wesco Insurance Company

Hovnanian Developments of
Florida, inc.

Hovnanian Developments of Florida, Inc. reserves all
claims against XL Insurance (Bermuda) LTD

Hovnanian Enterprises, Inc.

Hovnanian Enterprises, Inc. reserves all claims against XL
insurance (Bermuda) LTD

Hovstone Properties Florida, LLC

Hovstone Properties Florida, LLC reserves all claims
against XL Insurance (Bermuda) LTD

John L. Crosby, LLC

John L. Crosby, LLC. reserves all claims against U.S. Fire
Company, Crum and Forster Specialty Insurance

Company and North River insurance Company

Gemini Insurance Company reserves all claims against
U.S. Fire Company, Crum and Forester Specialty
Insurance Company and North River Insurance
Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 40 of 49

JWR Construction Services, Inc.

JWR Construction Services, inc. reserves all claims
against Amerisure Insurance Company, Amerisure
Mutual Insurance Company, Fireman's Fund Insurance
Company

K. Hovnanian Developments of
New Jersey, Inc.

K. Hovnanian Developments of New Jersey, Inc. reserves
all claims against XL Insurance (Bermuda) LTD

K. Hovnanian Developments of
Texas, Inc.

K. Hovnanian Developments of Texas, Inc. reserves all
claims against XL Insurance (Bermuda) LTD

K. Hovnanian First Homes, LLC

K. Hovnanian First Homes, LLC reserves all claims against
XL Insurance (Bermuda) LTD

K. Hovnanian Homes of Houston,
LLC f/k/a K. Hovnanian of Houston,
LP d/b/a Parkside Homes

K. Hovnanian Homes of Houston, LLC f/k/a K. Hovnanian
of Houston, LP d/b/a Parkside Homes reserves all claims
against XL Insurance (Bermuda) LTD

K. Hovnanian of Houston fi, LLC
f/k/a K. Hovnanian of Houston Il, LP
d/b/a Brighton Homes

K. Hovnanian of Houston Il, LLC f/k/a K. Hovnanian of
Houston Il, LP d/b/a Brighton Homes reserves all claims
against XL Insurance (Bermuda) LTD

K. Hovnanian of Palm Beach XIII,
Inc.

K. Hovnanian of Palm Beach XIll, Inc. reserves all claims
against XL Insurance (Bermuda) LTD

K. Hovnanian Windward Homes,
LLC

K. Hovnanian Windward Homes, LLC reserves all claims

against XL Insurance (Bermuda) LTD

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 41 of 49

KB HOME Tampa LLC, KB HOME
Florida LLC, KB HOME Treasure
Coast LLC, KB HOME Jacksonville
LLC, KB HOME Orlando LLC, KB
HOME Fort Myers LLC and KB
HOME/SHAW Louisiana LLC

KB HOME Tampa LLC, KB HOME Florida LLC, KB HOME
Treasure Coast LLC, KB HOME Jacksonville LLC, KB HOME
Orlando LLC, KB HOME Fort Myers LLC and KB
HOME/SHAW Louisiana LLC reserve all claims against
Winterthur Insurance Company, SR International
Insurance Company, Starr Excess Insurance Company,
Zurich Insurance Company, Lexington Insurance
Company, New Market Underwriters, Federal Insurance
Company, XL Insurance Company, XL Europe Insurance
Company, American Alternative Insurance Company, Old
Republic Insurance Company, Endurance Insurance
Company, Max Re Insurance Company, Scor Re
Insurance Company, Aspen Insurance Company

Land Services of FL, LLC and Butler
Properties, LLC

Land Services of FL, LLC and Butler Properties, LLC
reserve all claims against Scottsdale Insurance Company
and Evanston Insurance Company

Lennar Corporation, Lennar Homes,
LLC f/k/a Lennar Homes, Inc., and
U.S. Home Corporation

Lennar Corporation, Lennar Homes, LLC f/k/a Lennar
Homes, Inc., and U.S. Home Corporation reserves all
claims against Old Republic, AIG, Interstate Fire &
Casualty, Zurich American, General Security Indemnity
Company of Arizona, Starr Excess, Chubb, Endurance,
Allied World Assurance, XL Europe Ltd., Interstate Ins.
Group, Swiss Re, Max Re Ltd., Aspen, Ironshore,
Steadfast, Markel American, American Guarantee,
Zurich, Syndicate 1209.

Lucchetti Drywall and AML Drywall

The Ohio Casualty Insurance Company reserves all
claims against Mercer Insurance Company

M. Carbine Restorations, Ltd.

M. Carbine Restorations, Ltd. reserves all claims against

Tudor insurance Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 42 of 49

M/1I Homes (including all
subsidiaries and affiliates)

M/I Homes reserves all claims against Allied World
Assurance Company, Old Republic Insurance Company,
Chubb Group of Insurance Companies; Chubb
Commercial Excess; and Federal Insurance Company,
Zurich American Insurance Company, Zurich North
America, Steadfast Insurance Company, Endurance
Specialty Insurance, Ltd.

Maronda Homes, inc. of Florida

Maronda Homes, Inc. of Florida reserves all claims
against Chartis Specialty Insurance Company, National
Union, Accordia Northeast, Inc., American Alternative
Insurance Company, Wells Fargo Insurance Services
Pennsylvania, Inc. and Everest National Insurance
Company

McDowell Builders, LLC

McDowell Builders, LLC reserves all claims against
Colony Insurance Company

Gemini Insurance Company reserves all claims against
Colony Insurance Company

Meridian Homes USA, Inc.

Meridian Homes USA, Inc. reserves all claims against
Builders Insurance Company and Builders Insurance
Group

Meritage Homes of Florida, Inc. and
Meritage Homes of Texas, LLC

Meritage Homes of Florida, Inc. and Meritage Homes of
Texas, LLC reserves all claims against American
international Specialty Lines Insurance Company,
Hartford Fire Insurance Company, Lexington Insurance
Company and Starr Excess Insurance Company

MGB Construction, Inc.

Mid-Continent Casualty Company reserves all claims
against Quanta indemnity Company

Mid-State Drywall, Inc. d/b/a
Michael Mosley Drywall

Florida Insurance Guaranty Association reserves all
claims against Seminole Casualty Insurance Company
and American Southern Insurance Company

MSC of NWF, Inc. and Michael
Stanley Construction, Inc.

Mid-Continent Casualty Company reserves all claims
against Quanta Indemnity Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 43 of 49

New Orleans Area Habitat for
Humanity, Inc.

New Orleans Area Habitat for Humanity, Inc. reserves all
claims against Federal Insurance Company and ACE
Property and Casualty Insurance Company

Platinum Property Management,
Inc.

Platinum Property Management, Inc. reserves all claims
against Nautilus Insurance Company

Pukka Development, Inc.

Pukka Development, Inc. reserves all claims against
Westchester Surplus Lines Insurance Company and The
insurance Company of the State of Pennsylvania

RAH of Texas, LP

RAH of Texas, LP reserves all claims against American
Specialty Lines Insurance Company, Allegiant Insurance
Company and Lexington Insurance Company

RCL Development, Inc.

RCL Development, Inc. reserves all claims against
Amerisure Insurance Company and Amerisure Mutual
Insurance Company

Richmond Heights Community
Development Corp.

Richmond Heights Community Development Corp.
reserves all claims against Nautilus Insurance Company

RiverStreet Homes, Inc.

Mid-Continent Casualty Company reserves ail claims
against Quanta Indemnity Company

Rogers Company, LLC

Rogers Company, LLC reserves all claims against
Assurance Company of America and Zurich North
America

Shoma Homes at Keys Cove Phase
Il, Inc.

Shoma Homes at Keys Cove Phase Il, nc. reserves all
claims against Crum and Forster Specialty Insurance
Company

Southern Homes of Broward XI, Inc.

Southern Homes of Broward XI, Inc. reserves all claims
against Mid-Continent Casualty Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 44 of 49

Standard Pacific Corp., Standard
Pacific of South Florida GP, Inc.,
Standard Pacific Homes of South
Florida GP, Inc., Standard Pacific of
Tampa GP, Inc., Standard Pacific of
Colorado, Inc., HWB Construction,
inc., Westbrooke Homes, Westfield
Homes of Florida, Inc. and Standard
Pacific Homes of Southwest Florida,
Inc.

Standard Pacific Corp., Standard Pacific of South Florida
GP, Inc., Standard Pacific Homes of South Florida GP,
Inc., Standard Pacific of Tampa GP, Inc., Standard Pacific
of Colorado, Inc., HWB Construction, Inc., Westbrooke
Homes, Westfield Homes of Florida, Inc., Standard
Pacific Homes of Southwest Florida, Inc. reserve all
claims against Steadfast Ins. Co., Interstate Fire & Casualty
Company, Insurance Company of the State of Pennsylvania,
Endurance Specialty Insurance Ltd., XL Europe Ltd.;
Newmarket Underwriters Insurance Company, Interstate Fire
& Casualty Company, Swiss RE, Lexington Insurance Company,
Lloyd’s Syndicate 2003, Lloyds Syndicate 1209, Scor Re
Insurance Company, Swiss Re Insurance Company, Max Re
Insurance Company, Allied World Assurance Company, Ltd.,
Ace Westchester Insurance Company

Stock Building Supply, LLC, Stock
Building Supply of Florida, LLC,
Stock Building Supply, Inc., Stock
Building Supply Holdings, LLC and
Stock Building Supply West, LLC

Stock Building Supply, LLC, Stock Building Supply of
Florida, LLC, Stock Building Supply, Inc., Stock Building
Supply Holdings, LLC and Stock Building Supply West, LLC
reserve all claims against Chubb Group of Insurance
Companies, Chubb Commercial Excess, Federal
Insurance Company and Selective Insurance Group, Inc.

Suncoast Building Materials, Inc.

Suncoast Building Materials, Inc. reserves all claims
against Pennsylvania Lumberman's Mutual Insurance
Company

Cincinnati Insurance Company reserves all claims
against Pennsylvania Lumberman's Mutual
Insurance Company

The Haskell Company

The Haskell Company reserves all claims against National
Union Fire Insurance Company of Pittsburgh, Pa.,
American Contractors Insurance Company Risk
Retention Group, Lexington Insurance Company, Illinois
Union Insurance Company, and American Guaranty &
Liability Insurance Company

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 45 of 49

The Sterling Collection, Inc.

The Sterling Collection, Inc. reserves all claims against North
American Specialty Insurance Company, Quanta Insurance
Company, Builders Insurance Group and Vinings insurance
Company

Timberline Builders, Inc.

Auto-Owners Insurance Company reserves all claims
against Quanta Indemnity Company

Toll Estero Limited Partnership

Toil Estero Limited Partnership reserves all claims
against Steadfast Insurance Company, Hartford Fire
Insurance Company, Zurich American Insurance
Company, XL Insurance Company Limited- Irish Branch,
Endurance Specialty Insurance Ltd.

Total Community Action, Inc.

Arch Insurance Company and Granite State Insurance
Company reserves all claims against Zurich Insurance
Company

Turley Heating & Cooling, Inc. and J.
Brian Turley

Auto-Owners Insurance Company reserves all claims
against Employers Mutual Casualty Company

Weekley Homes, LLC f/k/a Weekley
Homes, L.P. and David Weekley
Homes, LLC

Weekley Homes, LLC f/k/a Weekley Homes, L.P. and
David Weekley Homes, LLC reserve all claims against
Steadfast Insurance Company, Zurich American
Insurance Company and Zurich North America

Wholesale Building Products, LLC

Wholesale Building Products, LLC reserves all claims
against Zurich American Insurance Company,
Continental Casualty Company, Chartis, Inc., Chartis
Claims, Inc., Granite State Insurance Company, New
Hampshire Insurance Company, National Union Fire
Insurance Company and Fireman's Fund Insurance
Companies

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 46 of 49

Williams-Brown, Inc.

Nationwide Mutual Insurance Company reserves all
claims against First Specialty Insurance Company, First
Mercury {nsurance Company; Landmark American,
and National Trust insurance Company

Case 2:09-md-02047-EEF-MBN

Document 14373-6 Filed 05/18/12 Page 47 of 49

Participating Defendant
Involved

Participating Defendant/Insurers
Assigning Claims to PSC

Aburton Homes, Inc.

Aburton Homes, Inc., General Fidelity Insurance Company and
Quanta Insurance Company assign to the PSC any and all claims,
whether in contract, tort, law or equity, and whether for defense,
indemnity, or bad faith penalties, that any of these entities may have
against North American Specialty Insurance Company related to its
claim handling and/or coverage for Aburton Homes, Inc.

American Dream Builders, Inc.

American Dream Builders, Inc. and Quanta Insurance Company
assign to the PSC any and all claims, whether in contract, tort, law or
equity, and whether for defense, indemnity, or bad faith penalties,
that either of these entities may have against North American
Specialty Insurance Company related to its claim handling and/or
coverage American Dream Builders, Inc.

American Housing Corporation

American Housing Corporation, General Fidelity Insurance Company
and Quanta Insurance Company assign to the PSC any and all claims,
whether in contract, tort, law or equity, and whether for defense,
indemnity, or bad faith penalties, that any of these entities may have
against North American Specialty Insurance Company related to its
claim handling and/or coverage American Housing Corporation

First Choice Homes of SW Florida, Inc.

First Choice Homes of SW Florida, Inc. and Quanta Insurance
Company assign to the PSC any and all claims, whether in contract,
tort, law or equity, and whether for defense, indemnity, or bad faith
penalties, that either of these entities may have against North
American Specialty Insurance Company related to its claim handling
and/or coverage First Choice Homes of SW Florida, Inc.

Groza Builders, Inc.

Groza Builders, Inc., General Fidelity Insurance Company and Quanta
Insurance Company assign to the PSC any and all claims, whether in
contract, tort, law or equity, and whether for defense, indemnity, or
bad faith penalties, that any of these entities may have against North
American Specialty Insurance Company and Vinings Insurance
Company related to their claim handling and/or coverage Groza
Builders, Inc.

Case 2:09-md-02047-EEF-MBN

Document 14373-6 Filed 05/18/12 Page 48 of 49

Nautical Homes, LLC n/k/a Statewide
Structural, LLC

Nautical Homes, LLC n/k/a Statewide Structural, LLC and Quanta
Insurance Company assign to the PSC any and all claims, whether in
contract, tort, law or equity, and whether for defense, indemnity, or
bad faith penalties, that either of these entities may have against
North American Specialty related to its handling or coverage for
Nautical Homes, LLC n/k/a Statewide Structural, LLC

Ocean Construction, Inc.

Ocean Construction, Inc. and FCCI Insurance Company assign to the
PSC an and all claims, whether in contract, tort, law or equity, and
whether for defense, indemnity, or bad faith penalties, that either of
these entities may have against Amerisure Insurance Company and
Amerisure Mutual Insurance Company related to their handling or
coverage for Ocean Construction, Inc.

Reve Development Corporation

Reve Development Corporation and Quanta Insurance Company
assign to the PSC any and all claims, whether in contract, tort, law or
equity, and whether for defense, indemnity, or bad faith penalties,
that either of these entities may have against North American
Specialty related to its handling or coverage for Reve Development
Corporation

RJM Builders North, Inc., RJM Builders
Inc. and RJM Builders South, Inc.

RJM Builders North, Inc., RJM Builders Inc. and RJM Builders South,
Inc., General Fidelity Insurance Company and Quanta Insurance
Company assign to the PSC any and all claims, whether in contract,
tort, law or equity, and whether for defense, indemnity, or bad faith
penalties, that any of these entities may have against North
American Specialty related to its handling or coverage for RIM
Builders North, Inc., RJM Builders Inc. and RJM Builders South, Inc. .

Schmidt Brothers Homes, Inc.

Schmidt Brothers Homes, Inc., General Fidelity Insurance Company
and Quanta Insurance Company assign to the PSC an and all claims,
whether in contract, tort, law or equity, and whether for defense,
indemnity, or bad faith penalties, that any of these entities may have
against North American Specialty related to its handling or coverage
for Schmidt Brothers Homes, Inc.

Shoma Homes Splendido, Inc.

Shoma Homes Splendido, Inc. assigns to the PSC any and all claims,
whether in contract, tort, law or equity, and whether for defense,
indernnity, or bad faith penalties, that it may have against Crum and
Forester Insurance Company related to its claim handling and/or
coverage Shoma Homes Splendido, Inc.

Case 2:09-md-02047-EEF-MBN Document 14373-6 Filed 05/18/12 Page 49 of 49

Smith Family Homes Corporation and Smith Family Homes, Inc.,
General Fidelity Insurance Company and Quanta Insurance Company
Smith Family Homes Corporation and assign to the PSC any and all claims, whether in contract, tort, law or
equity, and whether for defense, indemnity, or bad faith penalties,
that any of these entities may have against North American Specialty
insurance Company related to its claim handling and/or coverage
Smith Family Homes Corporation and Smith Family Homes, Inc.

Smith Family Homes, Inc.

Stuart South Group, LC d/b/a Treasure Coast Homes and Quanta
Insurance Company assign to the PSC any and all claims, whether in
Stuart South Group, LC d/b/a Treasure contract, tort, law or equity, and whether for defense, indemnity, or

bad faith penalties, that either of these entities may have against
Coast Homes North American Specialty Insurance Company related to its claim
handling and/or coverage Stuart South Group, LC d/b/a Treasure
Coast Homes

Treasure Coast Communities, LC and Quanta Insurance Company
assign to the PSC any and all claims, whether in contract, tort, law or
Treasure Coast Communities, LC equity, and whether for defense, indemnity, or bad faith penalties,
that either of these entities may have against North American
Specialty Insurance Company related to its claim handling and/or
coverage Treasure Coast Communities, LC

Turn Key Home Builders, Inc. and Quanta Insurance Company assign
to the PSC any and all claims, whether in contract, tort, law or equity,
Turn Key Home Builders, Inc. and whether for defense, indemnity, or bad faith penalties, that
either of these entities may have against North American Specialty
Insurance Company related to its claim handling and/or coverage
Turn Key Home Builders, Inc.

